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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

ADAMS-BURCH, LLC,

               Plaintiff

       v.                                           Case No. 1:19-cv-01662 (TNM)

DBGA LLC, et al.,

                Defendants.


                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Adams-Burch, LLC

and Defendants DBGA, LLC, Ilya Alter, and Dimitri Chekaldin, comprising all parties to this

action, hereby stipulate to the dismissal of this action, with prejudice, with each party to pay its

own costs and fees.


Respectfully submitted,


/s/ Matthew J. Antonelli                             Scott H. Rome – with permission
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2019, I filed the foregoing via ECF, which caused a
true and correct copy of the foregoing STIPULATION OF DISMISSAL to be delivered to all
counsel of record.


                                                    /s/ Matthew J. Antonelli
                                                    Matthew J. Antonelli




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